         Case 4:11-cr-00211-JM Document 373 Filed 01/28/14 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

V.                           CASE NO. 4:11CR00211-3 JMM

MELVIN BROWN



                                          ORDER

       Pending is the Government’s motion to dismiss the indictment as to Defendant Melvin

Brown. (Docket #371). The motion is GRANTED. Count One, as to Melvin Brown only,

Count Eight, and Count Nine of the Indictment are hereby dismissed without prejudice.

       IT IS SO ORDERED this 28th day of January, 2014.


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                                                          James M. Moody
                                                          United States District Judge
